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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   UNITED STATES OF AMERICA,
10                 Plaintiff,                            Case No. CR06-198L
11          v.                                           ORDER ON MOTION
12                                                       FOR SEVERANCE AND LEAVE TO
     DANIEL SILVA-CHAVEZ, et al.,                        RENEW AND SUPPLEMENT
13                 Defendants.
14
15        This matter comes before the Court on “Defendant Pedro Cuellar-Garcia’s Motion for

16 Trial Severance & for Leave to Renew & Supplement” (Dkt. # 164). At this stage of the action,
17 the facts are insufficient to support a severance. However, as defense counsel notes, “there has
18 been insufficient time to fully investigate the case.” Motion at 3. The Court has entered a
19 continuance of the trial in order to give the parties more time. Because the facts have not been
20 fully developed, the Court will allow defendant to renew the motion later. For these reasons,
21 defendant’s motion is DENIED without prejudice with leave to renew and supplement.
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          DATED this 31st day of July, 2006.
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25
                                                    A
                                                    Robert S. Lasnik
                                                    United States District Judge
26
     ORDER ON MOTION
     FOR SEVERANCE AND LEAVE TO
     RENEW AND SUPPLEMENT
